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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

  UNITED STATES, et al.,                       )
                                               )
                          Plaintiffs,          )
         v.                                    )       No. 1:23-cv-00108-LMB-JFA
                                               )
  GOOGLE LLC,                                  )
                                               )
                          Defendant.           )

                                        NOTICE OF HEARING

         PLEASE TAKE NOTICE that on August 23, 2024, at 10:00 a.m., or as soon

  thereafter as counsel may be heard, Plaintiffs will move the Court for entry of an order for

  an adverse inference.
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  Dated: August 2, 2024

  Respectfully submitted,

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